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 1   JOSEPH A. YANNY, ESQ. (SBN 97979)
     ELLIOT H. MIN, ESQ. (SBN 302597)
 2
     jyanny@yannylaw.com
 3   YANNY & SMITH
 4   1801 Century Park East, Suite 2400
     Los Angeles, California 90067
 5   Telephone: (310) 551-2966
 6   Facsimile: (310) 551-1949
 7   Attorneys for Defendant Mongol Nation
 8
 9
10                  UNITED STATES DISTRICT COURT
11                 CENTRAL DISTRICT OF CALIFORNIA
12
13   UNITED STATES OF AMERICA,                 Case Number: CR 13-106 DOC
14
15                            Plaintiff,       DEFENDANT MONGOL
             v.                                NATION’S NOTICE OF
16                                             MOTION; RENEWED MOTION
17                                             TO DISMISS THE INDICTMENT
     MONGOL NATION, an unincorporated
                                               AND FOR SANCTIONS;
18   association,
                                               MEMORANDUM IN SUPPORT
19                                             OF MOTION
                              Defendants.
20
                                               Date: August 3, 2015
21                                             Time: 2:00 p.m.
22                                             Hon. David O. Carter
23   TO THE ABOVE-ENTITLED COURT AND TO THE UNITED STATES
24
     ATTORNEY:
25
26
27
28

                                           i
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 1         PLEASE TAKE NOTICE that on August 3, 2015 at 2:00 p.m., or as soon
 2
     thereafter as counsel may be heard, in the courtroom of the Honorable David O.
 3
 4   Carter, Defendant Mongol Nation will bring on for hearing the following motion:

 5         Defendant Mongol Nation hereby brings a renewed motion to dismiss the
 6
     indictment for failure to state a claim and for selective prosecution; Defendant
 7
 8   Mongol Nation additionally moves for sanctions against the government.
 9
           Defendant bases this motion on Federal Rule of Criminal Procedure
10
     12(b)(3)(B)(iii) and (iv), the First, Fifth, and Eighth Amendments to the United States
11
12   Constitution, federal statutes, case law, this notice, the supporting memorandum, the
13
     pleadings and papers on file in this action, and upon such evidence and argument as
14
15   may be presented before or at the hearing of this matter.
16
17
                                                   Respectfully submitted,
18
                                                   YANNY & SMITH
19
20
     Dated: July 6, 2015                    By:    __/s/ Joseph Yanny_______
21                                                 Joseph A. Yanny
22                                                 Elliot H. Min
                                                   Attorneys for Defendant
23
24
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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2
           Defendant Mongol Nation Motorcycle Club (hereinafter “Mongol Nation”)
 3
 4   hereby brings this renewed motion, pursuant to Federal Rule of Criminal Procedure

 5   12(b)(3)(B)(iii) and (iv), the First, Fifth, and Eighth Amendments to the United States
 6
     Constitution, federal statutes, and case law, to dismiss the indictment on the grounds
 7
 8   that it fails to state a valid claim, and that Mongol Nation has been selectively
 9
     prosecuted. Defendant Mongol Nation additionally moves for sanctions against the
10
     government.
11
12   I.    INTRODUCTION
13
           The Government’s Novel Failure
14
15         On October 9, 2008, the government brought an indictment against 79
16
     individual persons alleged to be members of the Mongol Nation Motorcycle Club
17
18   alleging violations, among other charges, of 18 U.S.C. §§ 1962(c) and (d), and
19   seeking the forfeiture of several trademarks registered by Mongols MC. See United
20
     States v. Cavazos, et al., CR 08-1201-ODW, Dkt. 1.
21
22         Shortly thereafter on October 21, 2008, the United States Attorney’s Office of
23
     the Central District of California issued a press release in which then United States
24
25   Attorney Thomas P. O’Brien boasted: “in addition to pursuing the criminal charges

26   set forth in the [CR 08-1201] indictment, for the first time ever, we are seeking to
27
     forfeit the intellectual property of a gang.” See ATF Undercover Investigation Leads
28

                                            1
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 1   to Federal Racketeering Indictment and Arrest of 61 Members of So. Cal.-Based
 2
     Mongols Outlaw Motorcycle Gang, The United States Attorney’s Office Central
 3
 4   District of California, Release No. 08-142, October 21, 2008 (emphasis added). Mr.

 5   O’Brien continued: “The indictment alleges that this trademark is subject to forfeiture.
 6
     We have filed papers seeking a court order that will prevent gang members from
 7
 8   using or displaying the name ‘Mongols.’ If the court grants our request for this order,
 9
     then if any law enforcement officer sees a Mongol wearing his patch, he will be
10
     authorized to stop that gang member and literally take the jacket right off his back.”
11
12   See id. (emphasis added).
13
           The government’s novel theory of forfeiture not only demonstrated a callous
14
15   and alarming disregard for the Constitutional rights of hundreds if not thousands of
16   innocent, law abiding citizens, but also a fundamental misunderstanding of
17
     intellectual property law.
18
19         The government moved swiftly to test its novel forfeiture theory. A little over a
20
     week after the Cavazos indictment was filed, the government applied ex parte for a
21
22   post-indictment retraining order to (1) proscribe subsequent sale of the Mongols mark;

23   and (2) enjoin use or display of the Mongols mark by defendants “and those acting on
24
     their behalf or in concert with them.” See CR 08-1201, Dkt. 248. The government
25
26   never disclosed to then presiding Judge Florence-Marie Cooper that the trademarks
27
     allegedly subject to forfeiture were in fact collective membership marks. Based on
28

                                           2
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 1   this misrepresentation, Judge Cooper granted the government’s application for a
 2
     restraining order. See id., Dkt. 249.
 3
 4          It was not long, however, before the government’s forfeiture theory began to

 5   fall apart. First, a law-abiding, unindicted member of the Mongols MC, Ramon
 6
     Rivera, filed a civil suit on March 10, 2009, seeking to enjoin the government’s
 7
 8   enforcement of the above post-indictment restraining order. See Ramon Rivera v.
 9
     Ronnie A. Carter, et al., CV 09-2435, Dkt. 1. Rivera asserted that enforcement of that
10
     order against him directly violated his First Amendment Free Speech and Fifth
11
12   Amendment Due Process rights under the United States Constitution. See id. This
13
     Court agreed, and the government lost that suit. See id., Dkt. 90. Furthermore, Rivera
14
15   subsequently moved for attorneys fees and expenses under the Equal Access to Justice
16   Act (EAJA) and, on this Court’s finding that the government’s litigation position with
17
     respect to the post-indictment restraining order was not justified in law or fact, this
18
19   Court awarded Rivera, and sanctioned the government, $253,206.78 in attorneys fees,
20
     expenses, and costs. See id., Dkt. 113.
21
22          On June 28, 2011, the honorable Judge Otis D. Wright II1 cut the last remaining

23   thread on which the government’s novel but inherently faulty theory of forfeiture
24
     hung when he finally vacated a “preliminary order of forfeiture”, that had earlier been
25
26
     1
27    Upon the unfortunate death of the late Judge Florence-Marie Cooper in January 2010,
     CR 08-1201 was assigned in parts to both Judge Otis D. Wright II, and Judge David O.
28   Carter.

                                               3
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 1   granted in CR 08-1201, on the basis that none of the charged defendants actually had
 2
     an ownership interest in the trademarks subject to criminal forfeiture. See CR 08-
 3
 4   1201-ODW, Dkt. 4481.

 5         All of the 78 individual defendants charged in Cavazos, except for an
 6
     individual who died in custody and another deemed incompetent, entered into a plea
 7
 8   agreement with the government, and nearly all of those individuals pled guilty to one
 9
     count of 18 U.S.C. § 1962(d) (RICO Conspiracy).
10
           Meanwhile, the government spectacularly failed in its first attempt to forfeit the
11
12   Mongols collective membership mark from the entire Mongol Nation, which was then
13
     and is still now comprised overwhelmingly of unindicted, law-abiding members.
14
15         The Government Fails Again
16         After this initial fiasco, the government brought on February 13, 2013 the
17
     instant indictment in which the government gave notice that it will once again attempt
18
19   the exact same forfeiture of the exact same Mongols MC collective membership
20
     marks. See Dkt. 1. The only difference between Cavazos and the instant indictment is
21
22   that in this case the government names the entity Mongol Nation as the sole

23   defendant. See id. As explained in detail in this motion, this attempt to circumvent
24
     RICO and intellectual property law once again falls flat on its face. The government’s
25
26   theory seems to be that, since the Mongol Nation is the registered owner of the
27
     collective membership marks the government intends to forfeit, and since certain
28

                                           4
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 1   individuals alleged to have been members of the Mongol Nation have previously been
 2
     convicted, the government can simply impute the actions of those individuals onto the
 3
 4   entity Defendant to find the entire organization guilty of RICO and strip every single

 5   one of its members, including the law-abiding ones who have never had their day in
 6
     court, of his right to display the Mongols collective membership mark.
 7
 8         The government once again ignores the reality that it has absolutely no right to
 9
     take away the fundamental and Constitutional rights to free expression and free
10
     association of hundreds if not thousands of law-abiding citizens, like Ramon Rivera,
11
12   who had nothing to do with the alleged illicit acts of those prosecuted in CR 08-1201,
13
     and never had their day in court.
14
15         Furthermore, the government once again demonstrates a fundamental
16   misunderstanding of trademark law by purporting to strip every member of an
17
     association of their right to display a collective membership mark by attempting to
18
19   find the registered owner of that mark criminally liable.
20
           Finally, the government falls woefully short of adequately pleading the
21
22   requisite elements of a RICO claim.

23         This case is a sorry remnant of a spectacular abuse committed by the
24
     government and it has become painfully obvious that the government is grasping at
25
26   straws in this futile attempt to have another bite of the apple. Enough is enough. Not
27
     only is the government’s theory futile but there is ample evidence to suggest that the
28

                                           5
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 1   government has brought this suit against the Mongol Nation, an entity comprised
 2
     primarily of working class Hispanic members, selectively and vindictively such that
 3
 4   sanctions are warranted against the government.

 5         For the reasons set forth above and detailed below, Defendant respectfully
 6
     moves this Court to dismiss the indictment entirely and/or dismiss or strike the
 7
 8   forfeiture remedy to finally put an end to the government’s abuse before further waste
 9
     is committed of taxpayer dollars and the limited funds of the blue-collar, working
10
     class, minority citizens who overwhelmingly comprise the Defendant entity.
11
12   II.   ARGUMENT
13
           A.    GOVERNMENT’S THEORY OF FORFEITURE OF
14
                 COLLECTIVE MEMBERSHIP MARK IS DEFECTIVE AS A
15               MATTER OF LAW
16
           For the reasons detailed below, Mongol Nation respectfully moves to dismiss
17
18   the indictment on the grounds that the government’s sole remedy sought in the
19   indictment and purpose for bringing this case (the forfeiture of the Mongols collective
20
     membership mark) is defective as a matter of law.
21
22               1.     Forfeitability of Collective Membership Mark
23
           As a threshold matter, Mongol Nation respectfully moves this Court to
24
25   determine the forfeitability of the collective membership mark in the interest of

26   achieving an orderly and expeditious disposition of this case. Additionally, as the
27
     Court has noted, as a result of this “criminal prosecution” no one is going to jail even
28

                                            6
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 1   if the government is successful since all of the defendants who committed the acts
 2
     complained of in the indictment have already been convicted, imprisoned, and, as the
 3
 4   government admitted in the last hearing, had their “patches” (each individual

 5   defendant’s copy of the mark) confiscated by the government. It should also be noted
 6
     at the outset that even if the government’s theory of the current prosecution is correct,
 7
 8   Mongol Nation MC could have and should have been added to the prior Cavazos
 9
     indictment, instead of improperly and unduly multiplying the number of proceedings
10
     with the current indictment.
11
12          Although both 18 U.S.C. § 1963 and Federal Rule of Criminal Procedure 32.2,
13
     the substantive and procedural forfeiture rules which govern this case, mandate
14
15   forfeiture proceedings following a conviction2, the rules do not preclude a
16   determination of the non-viability of forfeitability at the pleading stage and prior to
17
     conviction. The sole remedy pled in the indictment is forfeiture of the collective
18
19   membership mark. If that unconstitutional remedy were to be struck, there is a high
20
     likelihood that the prosecution would not even continue, and the taxpayers, the Court,
21
22   and this defendant could be spared abusive waste by overzealous prosecutors with an

23   unlimited budget.
24
25
26   2
        See 18 U.S.C. § 1963 (“Whoever violates any provision of section 1962 of this chapter
27   . . . shall forfeit to the United States . . .); Fed. R. Crim. P. 32.2 (“As soon as practical
     after a verdict or finding of guilty, or after a plea of guilty or nolo contender is accepted .
28   . . the court must determine what property is subject to forfeiture . . .”)

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 1         Furthermore, since the government has detailed in the indictment its intention
 2
     to seek forfeiture of the collective membership mark (see Indictment, ¶¶ 108-109),
 3
 4   that portion is subject to a Rule 12(b)(3)(B) motion to dismiss a defective indictment.

 5   See United States v. Jensen, 93 F.3d 667, 669 (9th Cir. 1996) (“A Rule 12(b) motion
 6
     to dismiss the indictment is a tool which affords Defendant an opportunity to
 7
 8   challenge the sufficiency of the indictment as pled by the government.”)
 9
           Finally, where, as here, the primary if not only remedy actually sought by the
10
     government is forfeiture of the above-mentioned collective membership mark, a pre-
11
12   trial determination of the forfeitability of that mark would serve the interest of
13
     achieving an orderly and expeditious disposition of this case. Indeed, this Court
14
15   possesses the inherent power, “governed not by rule or statute but by the control
16   necessarily vested in courts to manage their own affairs” to conduct the proceedings
17
     accordingly. Chambers v. NASCO, Inc., 501 U.S. 32, 49 (1991).
18
19         Therefore, in the interest of an orderly and expeditious disposition of this case,
20
     Mongol Nation respectfully moves this Court to render a pre-trial determination, in
21
22   light of the following arguments, regarding the forfeitability of the collective

23   membership mark.
24
     ///
25
26   ///
27
     ///
28

                                            8
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 1                2.    Trademark Law
 2
           As the government’s theory of forfeiture is fatally flawed under trademark law,
 3
 4   Mongol Nation respectfully moves to strike the forfeiture remedy and dismiss the

 5   indictment as defective and futile.
 6
                         a.    Forfeiture of marks would merely result in unrestricted
 7                             use of mark in the public domain.
 8
           The government operates under the assumption that by obtaining forfeiture of
 9
10   the collective membership mark the government becomes the owner of those marks
11
     and can regulate their use as the government pleases. Apart from egregiously violating
12
13   the Constitutional rights of unindicted third party individuals (discussed in detail in

14   later sections), the government’s theory demonstrates a fundamental
15
     misunderstanding of the function of collective membership marks.
16
17         The sole function of a collective membership mark is to indicate that the person
18
     displaying the mark is a member of the organized collective group. Aloe Creme
19
     Laboratories v. American Society for Aesthetic Plastic Surgery, Inc., 192 USPQ 170,
20
21   173 (TTAB 1976). Even though the collective membership mark is owned by the
22
     collective entity, only members of the collective can use the mark. 15 U.S.C. § 1127;
23
24   see F.R. Lepage Bakery, Inc. v. Roush Bakery Prods. Co., Inc., 851 F.2d 351, 353
25   (Fed. Cir. 1988), modified on other grounds, 863 F.2d 43 (Fed. Cir. 1988). A
26
     collective membership mark is protected insofar as it is being used to indicate
27
28   membership in the registrant. See Constitution Party of Texas v. Constitution Ass’n

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 1   USA, 152 USPQ 443 (TTAB 1966); see also Huber Baking Co. v. Stroehmann Bros.
 2
     Co., 252 F.2d 945, 955 (2d Cir. 1958) (“Trademark rights are acquired by use . . . and
 3
 4   registration alone of the trademark does not increase the scope of such substantive

 5   rights”). Protection of a collective membership mark means the member users of the
 6
     mark enjoy the right to use and display it at the exclusion of non-members. See Ex
 7
 8   parte Supreme Shrine of the Order of the White Shrine of Jerusalem, 109 USPQ 248
 9
     (Comm’r Pats. 1956).
10
           In other words, the mark enjoys protection under trademark law insofar as the
11
12   mark is being used by specific members to display membership in a specific registrant
13
     organization to express constitutionally protected speech regarding membership. See
14
15   id. Thus under trademark law the relationship between registrant and member user of
16   a collective membership mark is unique and inseparable. A collective membership
17
     mark cannot be transferred to another entity and enjoy the same trademark protection.
18
19   See United Drug Co. v. Theodore Rectanus Co., 248 U.S. 90 (1918) (Right or interest
20
     in a trademark is “appurtenant to an established business or trade”); see also Marshak
21
22   v. Green, 746 F.2d 927, 929 (2d Cir. 1984) (“a trademark cannot be sold or assigned

23   apart from [the] goodwill it symbolizes[.] There are no rights in a trademark apart
24
     from the business with which the mark has been associated; they are inseparable.”).
25
26   As this Court has already held in Rivera, “preventing Mongols from wearing a leather
27
     patch bearing the word “MONGOLS” eviscerates the mark’s purpose of signifying
28

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 1   membership.” CV 09-2435, Dkt. 90, 10:28-11:3 (emphasis added) (citing
 2
     International Order of Job’s Daughters v. Lindeberg & Co., 633 F.2d 912, 917-20 (9th
 3
 4   Cir. 1980)). This is particularly relevant in this case where the government has

 5   admitted at the last hearing that all of those allegedly guilty of the wrongdoings which
 6
     form the basis of this suit have already been punished and forfeited their copies of the
 7
 8   registered collective membership mark. Defendant Mongol Nation would request the
 9
     Court to take notice of its own files in Cavazos (including plea agreements) to verify
10
     this fact.
11
12          Once a mark’s purpose is not being fulfilled, either because it is no longer
13
     being used to signify membership, or the relationship between registrant and users is
14
15   severed, then the mark is abandoned and cancelled. See Constitution Party of Texas,
16   152 USPQ 443 (TTAB 1966). Abandonment of a trademark results in unrestricted use
17
     in the public domain. See International Order of Job’s Daughters v. Lindeburg & Co.,
18
19   727 F.2d 1087 (Fed. Cir. 1984); see also In re Bose Corp., 580 F.3d 1240, 1243 (Fed.
20
     Cir. 2009). This of course is the direct opposite to the result that the government
21
22   hopes to achieve in obtaining forfeiture of the collective membership marks. Instead

23   of suppressing the use and display of the marks, the government’s forfeiture theory
24
     would actually result in an unrestricted use of the collective membership mark being
25
26   thrust into the public domain. Therefore, since the sole remedy which the government
27
     desires is futile, the case is futile and should be dismissed, especially given the fact
28

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 1   the allegedly guilty individuals have already been punished, and as the Court noted
 2
     many times, even if the government were successful in this suit, no one is going to
 3
 4   jail. No further waste of taxpayer dollars, defendant’s monies, or the Court’s time is

 5   required.
 6
                        b.      An owner of a collective membership mark cannot make
 7                              a negative prohibition.
 8
           Even if the government could somehow take ownership of the collective marks,
 9
10   the government, as this Court already held in Rivera, cannot silence the use and
11
     display of it. See generally United Drug v. Theodore Rectanus Co., 248 U.S. 90, 97-
12
13   98 (1918) (“The owner of a trademark may not, like the proprietor of a patented

14   invention, make a negative and merely prohibitive use of it as a monopoly.”). To
15
     simply preclude use would result in an abandonment. There is no way that the
16
17   innocent members of this Defendant would ever consent to the transfer of the
18
     goodwill associated with this mark to the United States government. Any attempt at
19
     such a transfer would be what is known as “a naked transfer” and result in the
20
21   destruction of the mark.
22
                        c.      Collective mark owner holds the mark for the benefit of
23                              members only.
24
           Finally, the registered owner of a collective mark holds the mark’s title in trust
25
26   for the benefit of the members. See Trademark Manual of Examining Procedure
27
     (TMEP) Section 1303 (“The mark is used by all members of the group; therefore, no
28

                                           12
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 1   one member can own the mark, and the collective organization holds the title to the
 2
     collectively used mark for the benefit of all members of the group.”); see also Inessa
 3
 4   Shalevich, Protection of Trademarks and Geographical Indications, 6 Buff. Intell.

 5   Prop. L.J. 67, 72 (2008). This relationship is analogous to an attorney holding legal
 6
     title to client money in a trust account but solely for the benefit of the client. Just as
 7
 8   the government could not obtain forfeiture of client funds by convicting the attorney,
 9
     the government cannot take away unindicted members’ right to use and display the
10
     marks by holding Mongol Nation criminally or civilly liable. To do so would again be
11
12   a naked transfer.
13
                         d.     Government’s forfeiture theory is defective under
14                              trademark law and therefore the indictment must be
15                              dismissed.
16         The government should have realized long before instituting this action that
17
     trademark law precludes the government from obtaining forfeiture of a collective
18
19   membership mark. If the government obtains forfeiture of the mark, the mark would
20
     be abandoned and its use would be unrestricted in the public domain. Also, even if the
21
22   mark is not cancelled and the government somehow obtained ownership of the mark,

23   the government is precluded from silencing that mark. Finally, even if Mongol Nation
24
     holds legal title to the mark, it does so solely for the benefit of individual members of
25
26   the Mongol Nation who each by virtue of membership possesses a right to use and
27
     display the mark—something the government cannot take without prosecuting that
28

                                             13
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 1   individual (discussed below). Based on the foregoing, Mongol Nation respectfully
 2
     moves to strike the government’s forfeiture remedy and dismiss the indictment as
 3
 4   defective and futile.

 5                3.     Collateral Estoppel (Issue Preclusion)
 6
           Mongol Nation respectfully moves to dismiss the indictment on the ground that
 7
 8   the government is collaterally estopped from re-litigating the issue of whether the
 9
     government can regulate the use of a collective membership mark, which was
10
     previously litigated between the government and an unindicted third party member of
11
12   Mongol Nation, Ramon Rivera, in Rivera, CV 09-2435.
13
           The Ninth Circuit adopted a three-part test to determine whether collateral
14
15   estoppel applies: (1) an identification of the issues in the two actions for the purpose
16   of determining whether the issues are sufficiently similar and sufficiently material in
17
     both actions to justify invoking the doctrine; (2) an examination of the record of the
18
19   prior case to decide whether the issue was “litigated” in the first case; and (3) an
20
     examination of the record of the prior proceeding to ascertain whether the issue was
21
22   necessarily decided in the first case. United States v. Castillo-Basa, 483 F.3d 890, 897

23   (9th Cir. 2007); see also Blonder-Tongue Laboratories, Inc. v. University of Illinois
24
     Foundation, 402 U.S. 313 (1971).
25
26   ///
27
     ///
28

                                            14
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 1                      a.     Issues are sufficiently similar and material in both
                               actions.
 2
 3         The dispositive issue in Rivera was whether the government, through the
 4
     enforcement of a “post indictment restraining order” obtained (and later overturned)
 5
 6   in the collateral case U.S. v. Cavazos, supra, could regulate (i.e., seize or suppress)
 7   the use and display of the Word and Rider collective membership marks by an
 8
     unindicted third party member of Mongol Nation. See Rivera, CV 09-2435, Dkt. 90.
 9
10   The Rivera decision is final for all purposes and was so the moment that the District
11
     Court decision was entered. That principle of law is axiomatic.
12
13         Similarly, the government in this case purports to suppress, by first obtaining

14   the forfeiture of the ownership rights of the same collective membership mark, the use
15
     and display of the mark by unindicted third party Members of Mongol Nation
16
17   identically situated to Ramon Rivera.
18
                        b.    Issue was litigated in the first case.
19
           The above-stated issue in Rivera was fully litigated for nearly a year leading to
20
21   Rivera’s motion for summary judgment. See id. at 5:11 (“Rivera filed the instant
22
     action on March 10, 2009 . . .” (summary judgment opinion was filed January 4,
23
24   2011)) Rivera ultimately filed his motion for summary judgment, the government
25   filed an opposition, replies were filed, and oral arguments were heard before this
26
     Court issued a final written order granting summary judgment in favor of Rivera. See
27
28   id. at 1:22-23. In a related matter, the government was sanctioned in excess of

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 1   $250,000 for maintaining a position that was based in neither law nor fact. See CV
 2
     09-2435, Dkt. 113 (Order Granting Plaintiffs’ Motion for Attorneys Fees Under 28
 3
 4   U.S.C. 2412). That determination as well is final for all purposes. For the government

 5   to now resurrect this failed theory is nothing shy of a vexatious and harassing undue
 6
     multiplication of proceedings that is based in neither law nor fact. For the government
 7
 8   to have made the mistake the first time may have arguably been excusable. However,
 9
     for the same lawyers to have repeated that mistake in a subsequent action after
10
     attempting to judge shop so as to steer the case to a more favorable forum is
11
12   reprehensible and sanctionable, as explained below.
13
                        c.    Issue was necessarily decided in the first case.
14
15         This Court necessarily decided that the government could not regulate the use
16   and display of collective membership marks by unindicted members on the basis of,
17
     among other grounds, Fifth Amendment Due Process (see id. at 6:9-20 (“The
18
19   government operates under the theory that, by obtaining any rights in the marks, it has
20
     achieved the ability to seize without prior notice any infringing uses of the mark. The
21
22   government is not free to make its own determinations about whether Rivera has

23   committed infringement by wearing articles of clothing that bear the marks; that
24
     finding must be made in an adversary proceeding. [citation omitted]”)), and First
25
26   Amendment Freedom of Speech (see id. at 6:22-8:20 (“The undisputed facts establish
27
     that the government’s seizure of items bearing the Mongols mark and/or Image mark
28

                                           16
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 1   would also violate Rivera’s rights under the First Amendment to the United States
 2
     Constitution.”)). This necessary decision was the basis of the Court’s finding in favor
 3
 4   of Rivera. See id. 13:26-14:3.

 5                      d.     Government is estopped from seeking forfeiture of the
 6                             collective membership mark
 7         For the foregoing reasons, the Mongol Nation respectfully moves this Court to
 8
     dismiss the indictment, on the basis that the government is estopped from re-litigating
 9
10   the dispositive issue of whether it can suppress the use and display of collective
11
     membership marks by unindicted third party members of the Mongol Nation.
12
13                4.    Fifth Amendment Due Process

14         Mongol Nation respectfully moves to dismiss the indictment on the grounds
15
     that the sole remedy sought by the government, forfeiture of Mongol Nation’s
16
17   collective membership marks, violates the rights of hundreds of unindicted citizens
18
     without affording them due process of law as required by the Fifth Amendment to the
19
     United States Constitution. U.S. Const. Amend V.
20
21         By obtaining forfeiture of collective membership marks through the conviction
22
     of one named entity defendant, the government purports to strip away the freedom to
23
24   express and associate from “hundreds” (see Indictment, ¶ 8) of unindicted, uncharged,
25   law-abiding citizen members of the Mongol Nation in one fell swoop without ever
26
     hailing any of these innocent individuals into court. As this Court held in Rivera, “the
27
28   government is not free to make its own determinations” about whether innocent

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 1   citizens “committed infringement by wearing articles of clothing that bear the marks..
 2
     .” CV 09-2435, Dkt. 90, 6:13-15 (emphasis added) (citing 15 U.S.C. § 1118).
 3
 4          As discussed above, each individual member of Mongol Nation has the right to

 5   use and display the Word and Rider collective membership marks as a means to
 6
     demonstrate his membership in the Mongol Nation. This right is enjoyed independent
 7
 8   of the ownership interests of the marks held by the Mongol Nation, which holds the
 9
     marks in trust for the benefit of its members. See Trademark Manual of Examining
10
     Procedure (TMEP) Section 1303. If the government purports to strip an individual’s
11
12   Constitutional right to use and display these marks, it must afford that person the
13
     opportunity to be heard and tried.
14
15          For the foregoing reasons, the Mongol Nation respectfully moves to dismiss the
16   indictment on the grounds that the forfeiture remedy would violate the Fifth
17
     Amendment due process rights of hundreds of unindicted, innocent third party
18
19   citizens.
20
                  5.    First Amendment Free Speech and Association
21
22          Mongol Nation respectfully moves to dismiss the indictment on the grounds

23   that the only remedy sought by the government, forfeiture of the Mongol Nation’s
24
     collective membership mark, suppresses the free speech and association rights of
25
26   hundreds of unindicted innocent citizens in violation of the First Amendment to the
27
     United States Constitution. U.S. Const. Amend I.
28

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 1         In addition to protecting speech, the First Amendment protects conduct
 2
     “imbued with elements of communication.” Spence v. Washington, 418 U.S. 405, 409
 3
 4   (1974). This Court has previously held that both the collective membership mark

 5   “convey[s] a message”. Rivera, CV 09-2435, Dkt. 90 at 7:13-14. Furthermore, the
 6
     Ninth Circuit has held that patches and symbols signifying membership in a
 7
 8   motorcycle organization communicate “the fact of [members’] association with this
 9
     particular kind of organization.” Sammartano v. First Judicial District Court, 303 F.3d
10
     959, 972 (9th Cir. 2002). Indeed, this Court found in Rivera that the government
11
12   conceded that the collective membership mark have a “communicative effect” which
13
     the government contended (as it does now) was “worthy of suppression.” CV 09-
14
15   2435, Dkt. 90 at 7:22-23. This Court has already found the government’s theory to be
16   faulty and a final determination which is binding in this collateral proceeding.
17
           In this case, the government purports to restrict and suppress the use and
18
19   display of the collective membership mark by obtaining forfeiture of that mark from
20
     the Mongol Nation. Unfortunately, by doing so the government will suppress the
21
22   speech of hundreds of unindicted third party citizens who enjoy the right to use and

23   display the collective membership mark. Restrictions “aimed at suppressing the
24
     ‘substantive message [] convey[ed]’ by a particular symbol generally run afoul of the
25
26   First Amendment”, Cohen v. California, 403 U.S. 15, 19 (1971), and are generally
27
     permissible only if they are (1) reasonable in light of the forum’s purpose and (2)
28

                                           19
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 1   viewpoint neutral. See Cornelius v. NAACP Legal Defense & Educ. Fund, 473 U.S.
 2
     788, 806 (1985). The government has no legitimate purpose to strip hundreds of
 3
 4   unindicted innocent third party members of their right to express and associate

 5   themselves freely, and even if the government had some purpose, outright denying
 6
     these hundreds of innocent citizens from voicing their association with the Mongol
 7
 8   Nation would be solely for the purpose of “suppressing that point of view on an
 9
     otherwise includible subject.” See Id. This is simply impermissible.
10
           Furthermore, the right of individuals to associate with one another “has been
11
12   granted constitutional status, largely because that right furthers the right of self-
13
     expression. See, e.g., NAACP v. Alabama ex rel. Flowers, 377 U.S. 288 (1963). The
14
15   government purports to hold innocent citizens guilty for the past criminal acts of a
16   few (See generally U.S. v. Cavazos, CR 08-1201). The Ninth Circuit specifically held
17
     this to be impermissible when it stated “liability could not be imposed consistent with
18
19   the First Amendment solely on account of the individual’s association with others
20
     who have committed acts of violence; he must have incited or authorized them
21
22   himself.” Planned Parenthood of Columbia/Williamette, Inc. v. American Coalition of

23   Life Activists, 290 F.3d 1058, 1073 (9th Cir. 2002); see also NAACP v. Claiborne
24
     Hardware Co., 458 U.S. 886, 920 (1982) (The First Amendment does not permit
25
26   restrictions on an individual’s speech merely because an individual belongs to a
27
     group, some members of which committed acts of violence); cf. Healy v. James, 408
28

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 1   U.S. 169, 186 (1972)(“First Amendment rights cannot be infringed based on ‘guilt by
 2
     association;).
 3
 4         In examining the First Amendment question, we must revisit the pertinent

 5   trademark law which is discussed in previous sections above and which the
 6
     government consistently disregards. The nature of a collective membership mark is
 7
 8   such that the individual member’s right to use and display that mark is separate and
 9
     distinct from the owner of that mark who merely holds the mark in trust and for the
10
     benefit of the members. See Trademark Manual of Examining Procedure (TMEP)
11
12   Section 1303. It therefore does not follow, as the government purports, that by taking
13
     over the ownership rights of the marks (assuming arguendo that the government could
14
15   do so), the government can sweep away the individual members’ rights to enjoy the
16   use and display. If the First Amendment to the United States Constitution does not
17
     preclude such an impermissible taking in the first instance, then applicable trademark
18
19   law forecloses the government’s theory.
20
           This Court has already held that “the government’s seizure of items bearing the
21
22   Mongols mark and/or Image mark would violate Rivera’s rights under the First

23   Amendment to the United States Constitution.” Rivera, CV 09-2435, Dkt. 90, 6:22-
24
     24. The government now brings the same theory to strip hundreds of innocent citizens
25
26   like Rivera of their right to use and display the Word and Rider collective
27
     membership marks. Mongol Nation respectfully request that the government’s theory
28

                                          21
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 1   once again be denied on the basis that it violates the First Amendment rights of
 2
     innocent citizens, and the indictment be dismissed for failure to state a claim.
 3
 4                6.     Eighth Amendment Excessive Fines Clause

 5         Mongol Nation respectfully moves to dismiss the indictment on the grounds
 6
     that the only remedy sought by the government, forfeiture of Mongol Nation’s
 7
 8   collective membership marks, constitutes an excessive fine in violation of the Eight
 9
     Amendment to the United States Constitution. U.S. Const. Amend VIII.
10
           The Eighth Amendment provides: “Excessive bail shall not be required, nor
11
12   excessive fines imposed, nor cruel and unusual punishment inflicted. Id. (emphasis
13
     added). The Supreme Court has specifically held that the word “fines” (in the
14
15   excessive fines clause) includes “forfeiture”. United States v. Bajakajian, 524 U.S.
16   321, 328 (1998) (“Forfeitures—payments in kind—are thus “fines” if they constitute
17
     punishment for an offense.”).
18
19         When the forfeiture is punitive, as it is here, “the test for excessiveness of a
20
     punitive forfeiture involves solely a proportionality determination.” Id. at 333-34. The
21
22   amount of the forfeiture must “bear some relationship to the gravity of the offense it is

23   designed to punish.” Id. at 334 (citing Austin v. United States, 509 U.S. 544, 559
24
     (1993)).
25
26         Here, the government purports to seek forfeiture of the collective membership
27
     marks as punishment for Mongol Nation’s alleged RICO Act violations. The problem
28

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 1   is, such a punishment is not limited to Mongol Nation alone; rather, it directly
 2
     punishes hundreds (See Indictment, ¶ 8) of innocent, unindicted members within that
 3
 4   entity by robbing each of them of their Constitutional right to free expression and

 5   association without an opportunity to be heard. This is particularly egregious in light
 6
     of the fact that the government has already had an opportunity to prosecute individual
 7
 8   persons alleged to be have been past members of Mongol Nation for RICO Act
 9
     violations (See generally, U.S. v. Cavazos, CR 08-1201); in other words the
10
     government has had an opportunity to fulfill the RICO Act’s purpose, as this Court
11
12   has stated, of “extrication of criminal elements from legitimate enterprises” like
13
     Mongol Nation. See Rivera, CV 09-2435, Dkt. 90, 1:27-28. Now the government has
14
15   brought fresh RICO Act claims against the same entity from which it has already
16   extricated the criminal elements and now seeks to punish innocent members of that
17
     entity for the illicit actions of past rogue members. This is simply unacceptable and
18
19   constitutes a grossly disproportionate punishment for acts that already once been
20
     punished (in Cavazos).
21
22         For the foregoing reasons, Mongol Nation respectfully moves to dismiss the

23   indictment on the grounds that the sole remedy sought by the government constitutes
24
     a violation of the Eighth Amendment Excessive Fines Clause.
25
26   ///
27
     ///
28

                                           23
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 1         B.     GOVERNMENT FAILS TO ADEQUATELY PLEAD RICO
 2
           For the reasons detailed below, Mongol Nation respectfully moves to dismiss
 3
 4   the indictment on the grounds that the government has failed to adequately plead the

 5   RICO elements.
 6
                  1.     Indictment Fails to Plead RICO Person/Enterprise Distinction
 7
 8         Mongol Nation respectfully moves to dismiss the indictment on the grounds
 9
     that it fails to adequately set forth a distinction between RICO person and RICO
10
     enterprise, and therefore fails to state a claim.
11
12                       a.     RICO Definitions.
13
           Title 18, United States Code, Section 1962(c) states: “It shall be unlawful for
14
15   any person employed or associated with any enterprise engaged in, or the activities of
16   which affect, interstate or foreign commerce, to conduct or participate, directly or
17
     indirectly, in the conduct of such enterprise’s affairs through a pattern of racketeering
18
19   activity or collection of unlawful debt.” (emphasis added). Section 1961(3) defines
20
     “person” as including “any individual or entity capable of holding a legal or
21
22   beneficial interest in property.” Section 1961(4) defines “enterprise” as including

23   “any individual, partnership, corporation, association, or other legal entity, and any
24
     union or group of individuals associated in fact although not a legal entity.”
25
26   (emphasis added).
27
     ///
28

                                             24
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 1                        b.      RICO, as pled in the Indictment.
 2
            The indictment charges Mongol Nation with one count of violation of 18
 3
 4   U.S.C. § 1962(c), colloquially “substantive RICO”, and a second count of violation of

 5   18 U.S.C. § 1962(d), referred to as “RICO conspiracy”. See Indictment.
 6
            The indictment alleges that the sole defendant, Mongol Nation, unincorporated
 7
 8   association, is the RICO “person.” Indictment, ¶ 36 (“[D]efendant MONGOL
 9
     NATION, an unincorporated association consisting of full patched members of the
10
     Mongols gang criminal enterprise, being a person employed by and associated with
11
12   the Mongols Gang criminal enterprise . . .” (emphasis added)).
13
            Furthermore, the indictment alleges that the “Mongols Gang” is the RICO
14
15   “associated in fact” “enterprise.” Indictment ¶ 1 (“The Mongols Gang, including its
16   leadership, full patched members, prospective and probationary members, and
17
     associates (often referred to as ‘hang arounds’), constituted an ‘enterprise’ as defined
18
19   by Title 18, United States Code, Section 1961(4), that is, a group of individuals
20
     associated in fact.” (emphasis added)).3
21
22          In summary, the indictment alleges that the RICO enterprise (“Mongols Gang”)

23   is the RICO “person” Mongol Nation, unincorporated association, (“leadership and
24
     full patched members” of the Mongols Motorcycle Club) “associated in fact” with
25
26
     3
27    Interestingly, in the Cavazos indictment, the government pled the same “Mongols
     Gang” enterprise to consist only of “leadership, membership, and associates”. See
28   Cavazos, CR 08-1201, Dkt. 1, ¶ 1.

                                               25
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 1   prospective and probationary members and “hang around” associates of the Mongols
 2
     Motorcycle Club.
 3
 4         As further explained below, the indictment fails to plead nor can the

 5   government make out the required distinction between “Mongol Nation” and the
 6
     “Mongols Gang”, because they are in fact one and the same. In fact, the government
 7
 8   on several occasions in the indictment inadvertently concedes that there is no
 9
     distinction between one and the other. Fatally for the indictment and the government,
10
     our Supreme Court has specifically rejected the manner by which the indictment
11
12   names an entity as the RICO “person”, and the entity plus its employees and
13
     associates as the RICO “enterprise”. See Cedric Kushner Promotions, Ltd. v. King,
14
15   533 U.S. 158 (2001); see also Riverwoods Chappaqua Corp. v. Marine Midland Bank,
16   30 F.3d 339 (2d Cir. 1994) (cited and adopted by the Supreme Court in Cedric
17
     Kushner).
18
19                      c.     Cedric Kushner and the RICO person/enterprise
                               distinctness requirement.
20
21         In 2001 our Supreme Court addressed a question that had already been
22
     answered affirmatively by all the Circuit Courts: does 18 U.S.C. § 1962(c) require a
23
24   distinction between RICO person and enterprise? The Court in Cedric Kushner, 533
25   U.S. 158, agreed with the Circuits and answered that it did. See id. at 160, 161.
26
           The Cedric Kushner Court carefully examined the language of Section 1962(c)
27
28   and Congress’s original intent in passing the RICO Act to determine that 1962(c)

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 1   required a distinction between RICO person and enterprise. The Court held: “The
 2
     [1962(c)] language suggests, and lower courts have held, that this provision foresees
 3
 4   two separate entities, a ‘person’ and a distinct ‘enterprise.’” Id. at 160 (emphasis

 5   added). The Court went on: “We do not quarrel with the basic principle that to
 6
     establish liability under § 1962(c) one must allege and prove the existence of two
 7
 8   distinct entities: (1) a “person”; and (2) an “enterprise” that is not simply the same
 9
     “person” referred to by a different name” Id. at 161.
10
           Furthermore, the Supreme Court found: “In ordinary English one speaks of
11
12   employing, being employed by, or associating with others, not oneself.” Id. (citing
13
     Webster’s Third New International Dictionary 132 (1993)). The Court continued: “In
14
15   addition, the Act’s purposes are consistent with that principle. Whether the Act seeks
16   to prevent a person from victimizing, say, a small business, S. Rep. No. 91-617, p. 77
17
     (1969), or to prevent a person from using a corporation for criminal purposes [citation
18
19   omitted], the person and the victim, or the person and the tool, are different entities,
20
     not the same.” Cedric Kushner, 533 U.S. at 162. Lastly, the Supreme Court held:
21
22   “Indeed, this Court previously has said that liability ‘depends on showing that the

23   defendants conducted or participated in the conduct of the ‘enterprise’s affairs,’ not
24
     just their own affairs.” Id. at 163 (citing Reves v. Ernst & Young, 507 U.S. 170, 185
25
26   (1993)).
27
28

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 1         Therefore, there is no question that § 1962(c) requires the indictment to plead
 2
     RICO person and RICO enterprise as two separate and distinct entities.
 3
 4                       d.     Cedric Kushner facts inapposite; Riverwoods v.
                                Chappaqua on point.
 5
 6         Although the person/enterprise distinction rule set forth in Cedric Kushner is
 7   binding, its facts are inapposite, while the Riverwoods v. Chappaqua holding, which
 8
     the Cedric Kurshner Court adopted, is binding.
 9
10         The Cedric Kushner Court held that a “corporate owner/employee, a natural
11
     person” is “distinct from the corporation itself, a legally different entity with different
12
13   rights and responsibilities due to its different legal status.” 533 U.S. at 163. That

14   Court held “[i]t is natural to speak of a corporate employee as a “person employed
15
     by” the corporation. Id. at 164. Conversely in the instant case, the indictment alleges
16
17   that the RICO person is an entity (unincorporated association) which is “employed by
18
     or associated with” that entity plus its employees and associates. See Indictment, ¶ 1.
19
     In essence the government alleges that Mongol Nation is associated with or employed
20
21   by Mongol Nation. See Cedric Kushner, 533 U.S. at 161 (“[O]ne must allege and
22
     prove the existence of two distinct entities (1) a ‘person’; and (2) an ‘enterprise’ that
23
24   is not simply the same ‘person’ referred to by a different name.” (emphasis added)).
25   This is the exact result that the Cedric Kushner Court specifically renounced when it
26
     cited an earlier Second Circuit case and adopted its holding:
27
28

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 1         “The earlier Second Circuit precedent concerned a claim that a
           corporation was the ‘person’ and the corporation, together with all its
 2
           employees and agents, were the ‘enterprise.’ See Riverwoods Chappaqua
 3         Corp. v. Marine Midland Bank, N.A., 30 F.3d 339, 344 (1994) (affirming
 4         dismissal of complaint). It is less natural to speak of a corporation as
           ‘employed by’ or ‘associated with’” this latter oddly constructed entity.”
 5         Cedric Kushner, 533 U.S. at 164 (emphasis added).
 6
           The Riveroods Chappaqua holding, as adopted by the Supreme Court in Cedric
 7
 8   Kushner, is directly analogous to our case and therefore warrants dismissal of the
 9
     indictment.
10
                         e.    Riverwoods Chappaqua sets forth the dispositive RICO
11
                               person/enterprise distinction rule.
12
13         The Riverwoods Chappaqua holding is dispositive of our case and therefore

14   requires dismissal of the indictment.
15
           As discussed above, the Riverwoods Chappaqua Court held that where an entity
16
17   was pled to be a RICO person, and that entity plus its employees or agents were pled
18
     to be the RICO enterprise, there was no real distinction between RICO person and
19
     enterprise, and the case required dismissal on those grounds. 39 F.3d at 344. That
20
21   Court provided its rationale for that holding: “Because a corporation can only function
22
     through its employees or agents, any act of the corporation can be viewed as an act of
23
24   such an enterprise, and the enterprise is in reality no more than the defendant itself.”
25   Id. (emphasis added). Thus, the Court continues, “where employees of a corporation
26
     associate together to commit a pattern of predicate acts in the course of their
27
28   employment and on behalf of the corporation, the employees in association with the

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 1   corporation do not form an enterprise distinct from the corporation.” Id. (citing Old
 2
     Time Enters v. International Coffee Corp., 862 F.2d 1213, 1217 (5th Cir. 1989)
 3
 4   (emphasis added)). There is no logic in holding for purposes of RICO that there is any

 5   distinction between a corporation, a partnership, or an association. 18 U.S.C. §
 6
     1961(4).
 7
 8          Both this Court and the Ninth Circuit has specifically adopted the Riverwoods
 9
     Chappaqua holding in also finding lack of distinctness4.
10
                            f.      Applying Riverwoods Chappaqua.
11
12          Like Riverwoods Chappaqua, the indictment alleges that Mongol Nation,
13
     unincorporated association, is the RICO “person” defendant (Indictment, ¶ 36), and
14
15   that Mongol Nation, in association with its employees or agents, constitutes the RICO
16   enterprise (Indictment, ¶ 1). There are no other named defendants. Without question,
17
     Mongol Nation can only act by and through its employees or agents.
18
19          Specifically, the indictment alleges that Mongol Nation is comprised of “full
20
     patched members” (Id. at ¶ 36), while the arbitrarily named “Mongols Gang”
21
22
     4
23     See, e.g., In re Toyota Motor Corp., 785 F. Supp .2d 883, 922 (C.D. Cal. 2011) (“The
     instant case is much more similar to Riverwoods Chappaqua than Cedric Kushner
24   Promotions . . . Plaintiffs in the instant case allege that the corporate family of Toyota
     Defendants constitute both the “person” and the “enterprise” for the purpose of RICO . . .
25   Although Plaintiffs identify conduct committed by certain individual employees, none of
26   the employees are named as defendants . . . Instead, Plaintiffs explicitly allege that the
     Toyota “defendants are ‘persons’ . . . and the Toyota ‘Defendants, [their] worldwide
27   affiliates, and their salespersons’ constitute the ‘enterprise’ [citation omitted] Plaintiffs
     therefore have not satisfied the distinctness requirement”); Living Designs, Inc. v. E.I.
28   Dupont De Nemours and Co., 431 F.3d 353 (9th Cir. 2005).

                                                  30
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 1   “enterprise” is comprised of “leadership, full patched members, prospective and
 2
     probationary members, and associates (often referred to as ‘hang arounds’)” (Id. at ¶
 3
 4   1). Since the indictment alleges “all national and regional officers”, i.e. “leadership”,

 5   were “required to be full patched members” (Id. at ¶ 8), “leadership” is incorporated
 6
     into the definition of “full patched member”. Therefore, in effect the indictment
 7
 8   alleges that Mongol Nation is the RICO “person” defendant, and Mongol Nation plus
 9
     its probationary and prospective members and hang arounds all constitute the RICO
10
     “enterprise”. This cannot be in good faith established or pled. The object of the
11
12   government’s exercise should be justice, not a win on a novel theory. See Berger v.
13
     United States, 315 F.3d 1176, 1182 (1935)
14
15         The indictment sets forth no basis for this arbitrary demarcation of where
16   membership in Mongol Nation ends and membership in the Mongols Gang begins.
17
     The more sensible interpretation is that Mongol Nation encompasses all members of
18
19   the association, including prospective and probationary members and hang arounds.
20
     However, looking at the real purpose of the indictment is illuminating. As the
21
22   indictment alleges, “at all relevant times since their registration with the USPTO, all

23   rights in the Word and Rider Marks have been held by defendant MONGOL
24
     NATION.” Id., ¶ 32. Since only property of a RICO defendant is subject to forfeiture
25
26   under section 1963(a) (RICO forfeiture provision) (see United States v. Busher, 817
27
     F.2d 1409, 1412 (9th Cir. 1987)), The government realized that it had to name
28

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 1   Mongol Nation the entity as the RICO “person” to attempt its forfeiture of that
 2
     entity’s collective membership mark.5
 3
 4          The problem was, the government did not have anyone else, for example a

 5   separate corporate entity or outside individual(s), to name to plead an adequate RICO
 6
     “enterprise” consisting of Mongol Nation in conjunction with other entities. The
 7
 8   government therefore made a clever attempt to parse out the several components of
 9
     the one entity by deciding that “Mongol Nation, unincorporated association”
10
     consisted only of full-patched members, and everyone else was suddenly not part of
11
12   that entity but only associated with it. This deft and convenient construction
13
     unfortunately does not get past the strictures of Riverwoods Chappaqua; Riverwoods
14
15   Chappaqua specifically wanted to avoid this type of circumvention. See 39 F.3d at
16   344.
17
            The taxpayers, courts, and private litigants should not be unduly burdened by
18
19   attempts at clever pleading that is barred by the doctrine of judicial estoppel. See
20
     Hamilton v. State Farm Fire & Cas. Co., 270 F.3d 778 (9th Cir. 2001). The court
21
22   should contrast the definition used by the government in the Cavazos indictment (CR

23   08-1201, Dkt. 1, ¶ 1 (“Mongols Gang, including its leadership, membership, and
24
     associates, constituted an ‘enterprise’ . . .”)) and the current indictment (Indictment, ¶
25
26   5
       The government also made this realization after failing to obtain forfeiture of the
27   collective membership mark from the 79 individually named alleged Mongol Nation
     members in the prior RICO case since none of those individuals had an ownership
28   interest in the collective membership mark. See Cavazos, CR 08-1201-ODW, Dkt. 4481.

                                              32
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 1   20 (“Mongols Gang, including its leadership, full patched members, prospective and
 2
     probationary members, and associates . . .”)). Coupled with the government’s duty of
 3
 4   good faith pleading (Berger v. U.S., 315 F.3d at 1176) the government’s maneuvering

 5   around pleading rules is unacceptable and sanctionable. The clear language of §
 6
     1962(c) evidences an intention to prevent the victimization of innocent entities like
 7
 8   Mongol Nation. If there were any RICO enterprise, that enterprise would be the
 9
     “Cavazos” enterprise, not the so-called “Mongol Gang” enterprise.
10
                         g.     Applying Riverwoods Chappaqua cont’d: the
11
                                government’s pleading blunders.
12
13         The government’s pleading is flawed on several occasions in the indictment,

14   strongly demonstrating that even the government does not fully realize a distinction
15
     between Mongol Nation and the so-called “Mongols Gang” enterprise.
16
17         The indictment alleges “lower-ranking full patched members and prospective
18
     and probationary members were frequently required to patrol and provide armed
19
     security against the presence of law enforcement and rival gang members outside
20
21   Mother Chapter meetings.” See Indictment ¶ 6; see also, ¶ 10. Regardless of whether
22
     the substance of these allegations is true, it is clear that prospective and probationary
23
24   members and “lower ranking full patched members” often had overlapping
25   responsibilities that were fulfilled on behalf of the entity Mongol Nation. In short, the
26
     indictment itself alleges that these “members” were nothing more than agents or
27
28

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 1   employees of that entity, and therefore there is no distinction between the entity
 2
     Mongol Nation and these members; these members are part of the Mongol Nation.
 3
 4         Furthermore, and perhaps most fatally, the indictment states “On or about

 5   January 11, 2005, as the result of an application caused to be submitted by Ruben
 6
     Cavazos, Sr., at the time the President of the Mongols Gang, defendant MONGOL
 7
 8   NATION was granted registration of the Word Image with the . . . USPTO”
 9
     (emphasis added). Indictment, ¶ 24. The actual trademark application, as provided by
10
     the government in its discovery material to Mongol Nation, actually states that Ruben
11
12   Cavazos, Sr. signed the application as President of Mongol Nation, unincorporated
13
     association. See Cavazos, CR 08-1201, Dkt. 4463-2 (Application for Trademark
14
15   Registration No. 2,916,965).
16         Similarly, the indictment states: “On or about April 4, 2006, as the result of an
17
     application caused to be submitted by Ruben Cavazos, Sr., at the time the President
18
19   of the Mongols Gang, defendant MONGOL NATION was granted registration of the
20
     Rider Image with the USPTO . . .” Indictment, ¶ 25. And again, the actual trademark
21
22   application, as provided by the government to Mongol Nation, states that Ruben

23   Cavazos, Sr., submitted the application as President of Mongol Nation,
24
     unincorporated association. See Cavazos, CR 08-1201, Dkt. 4463-4 (Application for
25
26   Trademark Registration No. 3,076,731).
27
28

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 1         First, that the indictment alleges Ruben Cavazos, Sr., was the “president of the
 2
     Mongols Gang” demonstrates that the Mongols Gang “associated in fact enterprise” is
 3
 4   in fact one singular entity with the Mongol Nation defendant herein (since it has one

 5   “President”). Furthermore, the fact that the government itself cannot distinguish
 6
     between the Mongols Gang and the Mongols Nation in naming Ruben Cavazos, Sr.,
 7
 8   as the President of Mongols Gang in the indictment when in fact he was President of
 9
     Mongol Nation, unincorporated association, evidences an alarming and dispositive
10
     failure to adequately plead the distinction between RICO person and enterprise, and
11
12   also demonstrates the government’s concession that Mongol Nation, unincorporated
13
     association, and the so-called “Mongols Gang” is actually one and the same and that
14
15   there is no distinction between RICO person and enterprise as required by Cedric
16   Kushner. The only reasonable interpretation is that the so-called “Mongols Gang” is
17
     just Mongol Nation with another name and therefore there is no distinction between
18
19   the two.
20
                        h.     As the indictment fails to set forth a RICO person
21                             distinct from the RICO enterprise, both Counts of §§
22                             1962(c) and 1962(d) fail to state a claim, and the
                               indictment must be dismissed.
23
24         Based on the foregoing, it is clear that the indictment fails to adequately plead a
25   distinction between the RICO “person” and RICO “enterprise”. For that reason, Count
26
     One, violation of 18 U.S.C. § 1962(c) must be dismissed. Furthermore, when the
27
28   indictment fails to state a claim under § 1962(c), any claims under § 1962(d) (i.e.

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 1   Count Two) likewise fails. In re Toyota Motor Corp., 785 F.Supp.2d 883, 922 (C.D.
 2
     Cal. 2011) (citing Turner v. Cook, 362 F.3d 1219, 1231 n. 17 (9th Cir. 2004);
 3
 4   Religious Tech. Ctr. v. Wollersheim, 971 F.2d 364, 367 n. 8 (9th Cir. 1992)).

 5   Therefore, since both counts in the indictment fail to state a claim, the indictment
 6
     must be dismissed.
 7
 8                2.      An Entity Cannot Commit The Alleged Racketeering Acts In
                          The Indictment
 9
10         As an entity is legally incapable of committing the “racketeering acts” set forth
11
     in the indictment, the indictment must be dismissed for failure to state a claim.
12
13         In Jund v. Town of Hempstead, 941 F.2d 1271 (2d Cir. 1991), the Court faced,

14   seemingly as a matter of first impression, a challenge from an unincorporated
15
     association defendant that it was legally incapable of committing the predicate acts
16
17   which formed the basis of the 1962(c) violation claim against it. See id. at 1284. That
18
     Court held: “Generally in the absence of a clear legislative intent to impose criminal
19
     responsibility, an unincorporated association of persons as an entity cannot be
20
21   indicted and convicted of a crime, since, if a crime is committed, it must be
22
     committed by them as individuals. Id. (emphasis added) (citing 7 C.J.S. Associations
23
24   § 38, at 88-89 (1980); United States v. A&P Trucking Co., 358 U.S. 121, 127-28
25   (1958) (Douglas, J., dissenting); United States v. Local 807, 118 F.2d 684, 688 (2d
26
     Cir. 1941) (Clark, J., concurring); State of South Dakota v. Kandaras for Senate
27
28   Comm., 264 N.W.2d 902, 903-04 (S.D. 1978)).

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 1         The indictment alleges that Mongol Nation, unincorporated association,
 2
     committed ten “racketeering acts” which constitute the predicate acts required for a §
 3
 4   1962 (c) violation. See Indictment, ¶¶ 38-47.

 5         The racketeering acts allegedly committed by Mongol Nation, unincorporated
 6
     association, are as follows: (1) Conspiracy to distribute narcotics in violation of 21
 7
 8   U.S.C. §§ 841(a)(1), (b)(1)(B), and (b)(1)(A) (id. at ¶ 38); (2) Distribution of
 9
     narcotics in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(B), and (b)(1)(A) (id. at 40,
10
     44, 45); (3) Attempted Murder in violation of California Penal Code §§ 187 and 664
11
12   (id. at ¶¶ 39, 42, 43); and (4) Murder in violation of California Penal Code § 187 (id.
13
     at ¶ 41, 46, 47).
14
15         Nowhere in each of the aforementioned statutes is there language that
16   specifically holds an entity criminally liable for crimes that require specific mens rea
17
     that results in an act which is malum in se as opposed to malum prohibitum. See 21
18
19   U.S.C. § 841; California Penal Code §§ 664, 187. In fact, it is strange to even ponder
20
     a situation where an entity can be found guilty of murder, attempted murder, or
21
22   distribution of narcotics. It is axiomatic that such is not the case. See United States v.

23   Kelso Co., 86 F. 304 (N.D. Cal. 1898) (“Of course, there are certain crimes of which a
24
     corporation cannot be guilty; as, for instance, bigamy, perjury, rape, murder, and other
25
26   offenses, which will readily suggest themselves to the mind.”); Commonwealth v.
27
     Punxsutawney St. Passenger Ry., 24 Pa.C. 25 (1900).
28

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 1         Therefore, since Mongol Nation, unincorporated association, is legally
 2
     incapable of committing any of the “racketeering acts” set forth in the indictment,
 3
 4   both charges must be dismissed (see In re Toyota Motor Corp., supra (when the

 5   indictment fails to state a claim under § 1962(c), any claims under § 1962(d) likewise
 6
     fails)), and the indictment must be dismissed for failure to state a claim.
 7
 8         C.     SANCTIONS AGAINST THE GOVERNMENT
 9
           Mongol Nation respectfully moves, on the basis of 28 U.S.C. § 1927, the Hyde
10
     Amendment (18 U.S.C. § 3006A), and the Equal Access to Justice Act (EAJA) (28
11
12   U.S.C. § 2412), for sanctions against the government for selective prosecution, and
13
     bringing a frivolous, malicious, and vexatious indictment against Mongol Nation.
14
15                1.     Selective Prosecution
16         Pursuant to Fed. R. Crim. P. 12(b)(3)(A)(iv), Defendant Mongol Nation
17
     respectfully moves this Court to dismiss the Indictment on the grounds that the
18
19   government has selectively prosecuted Defendant Mongol Nation on the basis of the
20
     Hispanic ethnic composition of the Mongol Nation. This selective prosecution
21
22   violates Defendant’s equal protection rights under the Fifth Amendment of the United

23   States Constitution. See United States v. Armstrong, 517 U.S. 456, 465 (1996).
24
            To make a prima facie case of selective prosecution, Defendant must present
25
26   evidence that (1) others similarly situated were not prosecuted, and (2) the prosecution
27
28

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 1   was based on an impermissible motive. United States v. Alexander, 287 F.3d 811,
 2
     817-18 (9th Cir. 2002).
 3
 4                      a.     Others Similarly Situated Were Not Prosecuted.

 5         Defendant Mongol Nation is an entity which is a motorcycle club comprised of
 6
     hundreds of members (see Indictment, ¶ 8) and is one of hundreds, if not thousands,
 7
 8   of motorcycle clubs that operate within the United States.
 9
           In recent times, the government has prosecuted members of various other
10
     similarly situated motorcycle clubs under the same theory of RICO Act violations.
11
12   See, e.g., Werth v. United States, 493 Fed.Appx. 361, 2012 WL 3136919 (4th Cir.
13
     2012) (Outlaw Motorcycle Club), United States v. Lawson, 535 F.3d 434 (6th Cir.
14
15   2008) (Outlaws Motorcycle Club), United States v. Gardland, 320 Fed.Appx. 295,
16   2008 WL 2939507 (6th Cir. 2008) (Outlaw Motorcycle Club), United States v.
17
     Bowman, 302 F.3d 1228 (11th Cir. 2002) (Outlaw Motorcycle Club), United States v.
18
19   Baker. 598 Fed.Appx. 165 (4th Cir. 2015) (Hell’s Angels Motorcycle Club), United
20
     States v. Donovan, 539 Fed.Appx. 648 (6th Cir. 2013) (Highwaymen Motorcycle
21
22   Club), United States v. Nagi, 541 Fed.Appx. 556 (6th Cir. 2013) (Highwaymen

23   Motorcycle Club), United States v. Sutherland, 2014 WL 4705028 (E.D. Mich. 2014)
24
     (Devil’s Disciples Motorcycle Club), United States v. Henley, 766 F.3d 893 (8th Cir.
25
26   2014) (Wheels of Soul Motorcycle Club).
27
28

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 1         Similar to Defendant Mongol Nation, the members of the other motorcycle
 2
     clubs recently prosecuted under the RICO Act have distinctive membership marks
 3
 4   that are also registered trademarks. See, e.g., U.S. Trademark No. 1,136,494 (Hell’s

 5   Angels Motorcycle Club).
 6
           Furthermore, all of the other motorcycle clubs recently prosecuted under the
 7
 8   RICO Act are predominantly comprised of white male members. See, e.g., Gary L.
 9
     Wright, FBI leads crackdown on Hells Angels in N.C. and S.C., Winston-Salem
10
     Journal, Dec. 6, 2012, http://www.journalnow.com/news/local/article_582d987b-07ff-
11
12   54bf-95ac-ee4b0b95c93e.html?mode=jqm (“The [Hell’s Angels] indictment outlined
13
     the inner workers of the Hells Angels . . . Membership is limited to white males”),
14
15   United States v. Starrett, 55 F.3d 1525, 1533 (11th Cir. 1995) (“Only white males are
16   allowed to become members of the Outlaws [Motorcycle Club]”).
17
           In none of these recent RICO prosecutions did the government seek forfeiture
18
19   of trademarks. See USAO Release No. 08-142 (“For the first time ever, we are
20
     seeking to forfeit the intellectual property of a gang” (in reference to the Mongols
21
22   Motorcycle Club)). Again it is important to understand that according to the

23   indictment in this case the Mongol Nation, the defendant herein, was at all times a
24
     nameable defendant in the Cavazos indictment but was not named until the
25
26   government failed to impermissibly capture the Mongols collective membership
27
     mark, thereby unduly multiplying the number of proceedings in a harassing and
28

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 1   vexatious fashion. Indeed in none of these prior prosecutions listed were any of the
 2
     clubs actually named as defendants.
 3
 4         The government fully understands that Defendant Mongol Nation is an

 5   organization of primarily Hispanic members. See Nigel Duara, 7 Motorcycle Clubs
 6
     Feds Say Are Highly Structured Criminal Enterprises, Los Angeles Times, May 15,
 7
 8   2015, http://www.latimes.com/nation/nationnow/la-why-the-feds-are-worried-about-
 9
     these-biker-gangs-20150518-htmlstory.html (“According to a [Justice Department]
10
     report . . . ‘A majority of Mongols membership consists of Hispanic males who live in
11
12   the Los Angeles area . . .’”). The government also believes that successful forfeiture
13
     of the Mongols collective membership mark would be equivalent to the death
14
15   sentence to the Club; presumably this is why they are attempting this novel theory of
16   forfeiture against this organization of primarily Hispanic men.
17
                        b.     Prosecution Based On Ethnically Discriminatory Motive.
18
19         The only distinction between Defendant Mongol Nation and the other similarly
20
     situated motorcycle clubs the government has prosecuted under the RICO Act is that
21
22   Mongol Nation is comprised of mostly Hispanic members whereas the other

23   motorcycle clubs are comprised of mostly White members.
24
           In light of the above it is clear the government has selectively chosen to attempt
25
26   this novel, duplicative, and vexatious prosecution on an entire organization based on
27
     this organization’s Hispanic composition. The government has had opportunities in
28

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 1   the past to attempt forfeiture of the collective membership marks of other motorcycle
 2
     clubs but never did.
 3
 4         The government has brought this case to either: (a) strip the collective

 5   membership mark rights of a predominantly Hispanic organization and its individual
 6
     members, or (b) vexatiously exhaust the funds of that predominantly Hispanic
 7
 8   organization and its individual members by forcing it to defend this complex, pseudo-
 9
     criminal (who is going to jail?) lawsuit. In either case, the government is successfully
10
     oppressing this predominantly Hispanic organization. This is not only selective and
11
12   malicious prosecution but is downright reprehensible.
13
           In bringing this selective prosecution, the government, and specifically its
14
15   prosecuting officials, have failed their roles as:
16         “[T]he representative not of an ordinary party to a controversy, but of a
17         sovereignty whose obligation to govern impartially is as compelling as its
           obligation to govern at all; and whose interest, therefore, in a criminal
18
           prosecution is not that it shall win a case, but that justice shall be done. As such,
19         he is in a peculiar and very definite sense the servant of the law, the twofold
           aim of which is that guilty shall not escape or innocence suffer. He may
20
           prosecute with earnestness and vigor – indeed, he should do so. But, while he
21         may strike hard blows, he is not at liberty to strike foul ones. It is as much his
22         duty to refrain from improper methods calculated to produce a wrongful
           conviction as it is to use every legitimate means to bring about a just one.”
23         Berger v. U.S., 295 U.S. 78, 88 (1935) (emphasis added).
24
           For the foregoing reasons, Defendant Mongol Nation respectfully moves this
25
26   Court to dismiss the indictment on the grounds that it has been brought selectively and
27
     impermissibly against it and would request an evidentiary hearing on the issue.
28

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 1                2.     28 U.S.C. § 1927, And The Court’s Inherent Power
 2
           Pursuant to 28 U.S.C. § 1927, and the Court’s inherent power, Defendant
 3
 4   Mongol Nation respectfully moves the Court for sanctions against the prosecuting

 5   attorneys in this case on the grounds that they have unreasonably and vexatiously
 6
     multiplied the number of proceedings recklessly and/or in bad faith. If the
 7
 8   government’s theory of prosecution is correct, the Mongol Nation should have been
 9
     added to the Cavazos prosecution as an additional defendant was not. It is again
10
     important and significant that only when the government was unsuccessful in
11
12   destroying the identity of this predominantly Hispanic organization that it unduly
13
     multiplied the proceedings by bringing the current prosecution.
14
15         The prosecuting attorneys in this case have unreasonably, vexatiously, and
16   recklessly multiplied the number of proceedings such that Defendant is entitled to
17
     sanctions against them personally under both 28 U.S.C. § 1927, and this Court’s
18
19   inherent power.
20
           28 U.S.C. § 1927 states: “Any attorney or other person admitted to conduct
21
22   cases in any court of the United States or any Territory thereof who so multiplies the

23   proceedings in any case unreasonably and vexatiously may be required by the court to
24
     satisfy personally the excess costs, expenses, and attorneys’ fees reasonably incurred
25
26   because of such conduct.” Section 1927 was originally enacted “to prevent
27
     multiplicity of suits or processes, where a single suit or process might suffice.”
28

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 1   Roadway Express, Inc. v. Piper, 447 U.S. 752, 759 (1980). In the Ninth Circuit, the
 2
     district court’s finding of the offending attorney’s “recklessness plus knowledge” is
 3
 4   sufficient to justify the imposition of § 1927 sanctions. B.K.B. v. Maui Police Dept.,

 5   276 F.3d 1091, 1107 (9th Cir. 2002). Again, for the prosecution to have lost under a
 6
     flawed theory in the Cavazos and Rivera cases might be excusable under section
 7
 8   1927. However, to repeat that mistake being collaterally estopped from further pursuit
 9
     of a remedy is inexcusable and precisely the type of conduct section 1927 was
10
     intended to prevent.
11
12         While recklessness suffices for § 1927 sanctions, “bad faith” is required for
13
     “sanctions under the court’s inherent power.” See id.. As there is ample evidence that
14
15   the prosecuting attorneys have exercised bad faith and recklessness in instituting this
16   suit, Mongol Nation moves for sanctions under both § 1927 and this Court’s inherent
17
     power to issue sanctions so as to prevent undue burden upon innocent organizations
18
19   such as the Mongol Nation Motorcycle Club and its individual members who must
20
     ultimately bear the burden of such governmental misconduct.
21
22         As stated in numerous instances within this same motion, the instant case is a

23   remnant of an earlier prosecution, U.S. v. Cavazos, CR 08-1201, where the same
24
     prosecuting attorneys attempted the same exact forfeiture of the Mongols collective
25
26   membership and failed; that fact should not be forgotten by the Court.
27
28

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 1          In fact, the prosecuting attorneys also litigated the government’s position in the
 2
     related, collateral proceeding Rivera v. Carter, et al., CV 09-2435,6 in which an
 3
 4   innocent, unindicted third party member of Mongol Nation brought suit against the

 5   government on the grounds that the government’s forfeiture attempt violated his
 6
     constitutional rights. See id., Dkt. 1. This Court further denounced the government’s
 7
 8   theory that “by obtaining any rights in the marks, it has achieved the ability to seize
 9
     without prior notice any infringing uses of the mark.” Id. at 6:11-13. Additionally, this
10
     Court later found that the government’s litigation against Rivera and its attempt to
11
12   forfeit the Mongols collective membership mark had “no reasonable basis in law and
13
     fact” (Rivera, CV 09-2435, Dkt. 113, p. 5 (citing Thangaraja v. Gonzalez, 428 F.3d
14
15   870, 874 (9th Cir. 2005)) and sanctioned the government $253,206.78 in attorneys
16   fees, expenses, and costs. See Rivera, CV 09-2435, Dkt. 113, p. 15.
17
            It therefore is incredible that the government would once again bring another
18
19   indictment, under an identical forfeiture theory, which purports to obtain the very
20
     same result, stripping innocent third parties of their right to use and display the
21
22   collective membership mark, that this Court explicitly held is impermissible in prior

23   cases. The only difference with this case is that Mongol Nation, the alleged registered
24
     owner of the Marks, is now the named defendant in this suit, but this is merely a
25
26
     6
27     See Rivera v. Carter, et al., CV 09-2435, Dkt. 90, 9:3 (“Collateral proceedings—such as
     this one—may be used to remedy the harm caused by the wrongfully issued preliminary
28   injunction in the criminal matter. [citation omitted]”)

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 1   difference in form, not substance. As discussed in detail above, the binding trademark
 2
     and Constitutional laws which preclude such unrestrained violations of the
 3
 4   Constitutional rights of innocent third party citizens have not changed since the

 5   government’s failures in U.S. v. Cavazos, and U.S. v. Rivera. They have hardly
 6
     changed since the Constitution and its Amendments were drafted.
 7
 8         The only explanation of the government’s conduct that remains is that the
 9
     government has brought this suit in bad faith to force an entity comprised primarily of
10
     working class Hispanic individuals to exhaust its time and resources on a frivolous
11
12   and vexatious lawsuit until they are forced to submit to the unrelenting and seemingly
13
     limitless resources of the government. The government makes a mockery of our
14
15   judicial system and it has come time to put an end to it; and the only way to achieve a
16   just result for Mongol Nation and to prevent future abuses by prosecuting attorneys in
17
     similar situations is to sanction the prosecuting attorneys personally for their
18
19   egregious misconduct in this suit.
20
                  3.     EAJA
21
22         Defendant respectfully moves for sanctions against the government under the

23   Equal Access to Justice Act (EAJA), on the grounds that this suit is a psuedo-criminal
24
     action and in actuality is a civil forfeiture suit based upon the liability of distinctly
25
26   different defendants clothed in a criminal indictment. As this Court noted on multiple
27
     occasions, even if the government were successful, no one is going to jail, since all of
28

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 1   the alleged wrongdoers have already been indicted, entered plea agreements, or been
 2
     convicted, imprisoned, and forfeited their right to their patches which bear the
 3
 4   collective membership mark. The Court should again take judicial notice of its own

 5   files and records in both the Cavazos case before itself, and the one in front of Judge
 6
     Otis D. Wright II, and the plea agreements entered therein which specifically provided
 7
 8   for that remedy against men who admitted to their wrongdoing.
 9
           The purpose of Equal Access to Justice Act (EAJA) “is to eliminate financial
10
     disincentives for those who would defend against unjustified governmental action and
11
12   thereby to deter the unreasonable exercise of Government authority.” Ardestani v.
13
     INS, 502 U.S. 129, 138 (1991). The Court must award fees and expenses unless the
14
15   government proves that its position was “substantially justified” or that “special
16   circumstances” exist. 28 U.S.C. § 2412(d)(1)(A). The issue of substantial justification
17
     “shall be determined on the basis of the record . . . which is made in the . . . action for
18
19   which fees and other expenses are sought.” 28 U.S.C. § 2412(d)(1)(B).
20
           To overcome the presumption in favor of a fee award, the government’s
21
22   position must be “justified to a degree that could satisfy a reasonable person.” Pierce

23   v. Underwood, 487 U.S. 552, 565 (1988). The Court analyzes whether the
24
     government was substantially justified both “in taking its original action” and “in
25
26   defending the validity of the action in court.” Gutierrez v. Barnhart, 274 F.3d 1255,
27
     1258 (9th Cir. 2001). “A finding that either the government’s underlying conduct or
28

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 1   its litigation position was not substantially justified is sufficient to support a fee award
 2
     under the EAJA.” Orantes-Hernandez v. Holder, 713 F. Supp. 2d 929, 949 (C.D. Cal.
 3
 4   2010).

 5         This suit is clearly a civil forfeiture claim cloaked as a criminal prosecution
 6
     since as the Court has noted, even if the government is successful, no one is going to
 7
 8   jail in this case, and the alleged guilty have already been convicted in prior
 9
     prosecutions. The government’s sole intention in instituting this suit is to make a
10
     second attempt at taking thee Mongol Nation’s collective membership marks which
11
12   the government failed to obtain in U.S. v. Cavazos. As this is in reality a civil suit,
13
     Mongol Nation respectfully requests this Court to treat it as such and allow Mongol
14
15   Nation to move for sanctions against the government under EAJA.
16         Under EAJA, Mongol Nation would readily prove, as discussed in detail in
17
     above sections, that the government’s litigation position was not substantially justified
18
19   to a degree that would satisfy a reasonable person.
20
           Therefore, Mongol Nation respectfully moves for sanctions against the
21
22   government under the Equal Access to Justice Act.

23                4.     Hyde Amendment
24
           Mongol Nation respectfully moves for sanctions against the United States
25
26   Attorneys Office (“USAO”) under the Hyde Amendment (18 U.S.C. § 3006A) on the
27
     grounds that this suit is vexatious, frivolous, and/or in bad faith.
28

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 1         The Hyde Amendment was enacted as a method through which to sanction the
 2
     government for “prosecutorial misconduct.” United States v. Manchester Farming
 3
 4   Partnership, 315 F.3d 1176, 1182 (9th Cir. 2003). The Hyde Amendment provides, in

 5   relevant part: “The court, in any criminal case . . . may award to a prevailing party,
 6
     other than the United States, a reasonable attorney’s fee and other litigation expenses,
 7
 8   where the court finds that the position of the United States was vexatious, frivolous,
 9
     or in bad faith, unless pursuant to the procedures and limitations (but not the burden
10
     of proof) provided for an award under section 2412 of title 28, United States.” Id.
11
12         “Vexatious” has “both a subjective and objective element: subjectively, the
13
     government must have acted maliciously or with an intent to harass [defendant];
14
15   objectively, the suit must be deficient or without merit . . . [t]o prove vexatiousness,
16   the defendant must show the government had some ‘ill intent.’” Id.
17
           As discussed in detail above, in light of applicable law and the fact that the
18
19   government has previously tried and failed the same theory behind this suit, together
20
     with obvious judge shopping, the only explanation for their motives which remains is
21
22   that they have brought this frivolous action solely for the purpose of harassing the

23   Mongol Nation and to maliciously burden it with the cost of defending this frivolous
24
     and vexatious suit. As such, Mongol Nation respectfully moves for sanctions against
25
26   the government under the Hyde Amendment.
27
     ///
28

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 1                5.     Request For Evidentiary Hearing
 2
            The Mongol Nation respectfully requests an evidentiary hearing for all of the
 3
 4   above bases for sanctions, at which it will present its fees and costs bill and meet its

 5   burden of proof as to any issues the Court believes remains as the sanctions requested.
 6
     III.   CONCLUSION
 7
 8          For the foregoing reasons the Defendant Mongol Nation MC on behalf of its
 9
     members respectfully request that the indictment be dismissed in its entirety with
10
     prejudice, that the forfeiture remedy be stricken as unconstitutional and a matter about
11
12   which the government is collaterally estopped from arguing, that an appropriate order
13
     be entered setting a hearing for sanctions against the United States Attorneys Office
14
15   for the Central District of California, and specifically the prosecuting attorneys who
16   should have known better than to ignore their duties to this Defendant and its
17
     membership, and any other and further relief that this Court believes is just and
18
19   proper. Mongol Nation respectfully requests the opportunity to submit billing
20
     statements and summaries, and other evidence to prove its damages suffered as a
21
22   result of this frivolous and vexatious law suit which has no basis in law or fact.

23   ///
24   ///
25   ///
26   ///
27   ///
28

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 1                                           Respectfully submitted,
                                             YANNY & SMITH
 2
 3   Dated: July 6, 2015               By:   __/s/ Joseph A. Yanny__
 4                                           Joseph A. Yanny
                                             Elliot H. Min
 5                                           Attorneys for Defendant Mongol Nation
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